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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 CORRINE MICHEL JOHNSON, and §
 JONATHAN SHANE JOHNSON,     §
                             §
    Plaintiffs,              §
                             §
 v.                          §                         CIVIL ACTION NO. 3:15-CV-1939-B
                             §
 SAFECO INSURANCE COMPANY OF §
 INDIANA,                    §
                             §
    Defendant.               §

                                       FINAL JUDGMENT

       The Court held a bench trial in this case on August 28 and 29, 2017, and found for

Defendant. After receiving supplemental proposed findings of fact and conclusions of law from

Defendant, the Court entered its Findings of Fact and Conclusions of Law on October 5, 2017. Doc.

107.

       It is therefore ORDERED, ADJUDGED, and DECREED that Plaintiffs take nothing by

their suit against Defendant. IT IS FURTHER ORDERED that this action be DISMISSED with

prejudice. The Clerk is directed to close this case.


       SO ORDERED.

       SIGNED: November 6, 2017.



                                               _________________________________
                                               JANE J. BOYLE
                                               UNITED STATES DISTRICT JUDGE


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